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Guited States Court of Federal Claung

No. 18-1645 C
Filed: December 7, 2018

 

 

)
CHRISTOPHER CATO, )
)
Plaintiff, ) Pro Se; Sua Sponte Dismissal; Lack of
) Subject-Matter Jurisdiction; Claims
v. ) Against State and City Officials;
) Civil Rights Claims; Tort Claims; Civil
THE UNITED STATES, } Rights Claims; Constitutional Claims
)
Defendant. )
)
OPINION AND ORDER

SMITH, Senior Judge

On October 22, 2018, plaintiff, proceeding pro se, filed his Complaint with this Court
seeking various forms of relief. Plaintiff's Complaint asserts, infer alia, that the State of Texas,
the Houston Police Department, and employees within the Houston Police Department
committed harmful acts against him and his family and deprived him of various constitutional
rights. See generally Complaint (hereinafter “Compl.”). Plaintiff seeks injunctive relief and
money damages in the amount of $40 million. Additionally, plaintiff filed a Motion for Leave to
Proceed in forma pauperis on October 17, 2018.

Upon sua sponte review, the Court finds plaintiff's allegations do not give rise to any
cause of action over which this Court has subject-matter jurisdiction. The Court has no authority
to decide plaintiff's case, and therefore must dismiss the Complaint pursuant to Rule 12(h)(3) of
the Rules of the United States Court of Federal Claims (““RCFC”).

I. Background

In his Complaint, plaintiff alleges that a City of Houston police officer falsely arrested
and charged him for “Unwarranted Mental Comm.” in June of 1995, and that the charges were
later dismissed for insufficient evidence. Compl. at 1. Additionally, plaintiff states that he filed
a complaint with the Houston Police Department against the arresting officer for false
imprisonment, slander, defamation, perjury, and oppression. /d. Mr. Cato also asserts that the
State of Texas and the City of Houston Police Department intentionally concealed that complaint
to “keep me from succeeding against the state of Texas, the City of Houston, and the Houston
Police department.” /d. at 2. Mr, Cato claims that by concealing the complaint against the

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officer, the State of Texas and the Houston Police Department harassed him, discriminated
against him, and violated his Fourth and Fourteenth Amendment rights. Zed.

As a result of the alleged conduct in plaintiff's Complaint with this Court, Cato is seeking
$40 million in compensatory and punitive damages stemming from slander; defamation;
expenses associated with his arrest and litigation expenses; false imprisonment; false arrest; pain
and suffering; violation of his Fourth and Fourteenth Amendment rights; “putting mental stress
on the parents and brother of the plaintiff’; “the hurting of the wrist of Mr. Cato”; “sleeping on
the floor of the Harris County Jail”; and the “cost of the clothes and shoes the plaintiff had to put
in the trash.” PI.’s Exhibit 1 at 6-7. Cato also demands injunctive relief including an
investigation into the complaint he filed with the Houston Police Department as well as a letter

of apology. /d. at 7.
IL. Standard of Review

This Court’s jurisdictional grant is primarily defined by the Tucker Act, which provides
this Court the power “to render any judgment upon any claim against the United States founded
either upon the Constitution, or any Act of Congress or any regulation of an executive
department, or upon any express or implied contract with the United States . . . in cases not
sounding in tort.” 28 U.S.C. § 1491{a)(1) (2012) (emphasis added). Although the Tucker Act
expressly waives the sovereign immunity of the United States against such claims, it “does not
create any substantive right enforceable against the United States for money damages.” United
States v. Testan, 424 U.S, 392, 398 (1976). Rather, in order to fall within the scope of the
Tucker Act, “a plaintiff must identify a separate source of substantive law that creates the right to
money damages.” Fisher v. United States, 402 F.3d 1167, 1172 (Fed. Cir. 2005) (en banc in
relevant part).

“Courts have an independent obligation to determine whether subject-matter jurisdiction
exists... .” Hertz Corp. v. Friend, 559 U.S. 77, 94 (2010). Ifthe Court lacks jurisdiction, it
cannot proceed with the action and must dismiss the case. Arbaugh v. Y&H Corp., 546 U.S. 500,
514 (2006). RCFC 12(h)(3) provides: “If the court determines at any time that it lacks
subject-matter jurisdiction, the court must dismiss the action,” In determining whether
subject-matter jurisdiction exists, the Court will treat factual allegations in the complaint as true
and will construe them in the light most favorable to the plaintiff. See Estes Express Lines v.
United States, 739 F.3d 689, 692 (Fed. Cir. 2014). Furthermore, pleadings from pro se plaintiffs
are held to more lenient standards than pleadings drafted by lawyers. See Hughes v. Rowe, 449
U.S. 5, 9 (1980); see also Erickson v. Pardus, 551 U.S. 89, 94 (2007). This leniency, however,
does not extend to saving a complaint that lies outside of this Court’s jurisdiction. “Despite this
permissive standard, a pro se plaintiff must still satisfy the court’s jurisdictional requirements.”
Trevino y. United States, 113 Fed. Cl. 204, 208 (2013), aff'd, 557 F. App’x 995 (Fed. Cir. 2014)
(citations omitted). Pro se or not, the plaintiff still has the burden of establishing by a
preponderance of the evidence that this Court has jurisdiction over its claims. See Kokkonen vy.
Guardian Life Ins. Co, of Am., 511 U.S. 375, 377 (1994),

 
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III. Discussion

Plaintiff fails to establish by a preponderance of the evidence that this Court has
jurisdiction over his claims. It is well established that the United States Court of Federal Claims
lacks “jurisdiction over any claims alleged against states, localities, state and local government
entities, or state and local government officials and employees; jurisdiction only extends to suits
against the United States itself.” Anderson v. United States, 117 Fed, Cl. 330, 331 (2014); Smith
v. United States, 99 Fed. Cl. 581, 583-84 (2011). As such, the Court cannot hear plaintiff's
claims raised against the State of Texas, the City of Houston, the City of Houston Police
Department, and the arresting officer.

Additionally, this Court cannot adjudicate Cato’s Fourth and Fourteenth Amendment
claims. The Fourth and Fourteenth Amendments are not money-mandating and, therefore, are
not subject to the jurisdiction of this Court. See Brown vy. United States, 105 F.3d 621, 623 (Fed.
Cir. 1997) (holding that the Fourth Amendment does not mandate payment and therefore such
claims are not within the jurisdiction of this Court) (citations omitted); Ogden v. United States,
61 Fed, Cl. 44, 47 (2004) (stating that nothing in the Due Process Clause or Equal Protection
Clause of the Fourteenth Amendment mandates monetary compensation); Carruth v, United
States, 224 Ct. Cl. 422, 445 (1980) (finding no jurisdiction based on Fifth Amendment Due
Process or Equal Protection).

The Court also lacks jurisdiction over plaintiffs civil rights claims. Plaintiff alleges the
State and City police officers violated his civil rights. Compl. at 2. Only federal district courts
have jurisdiction to hear claims alleging civil rights violations. See Jones v, United States, 104
Fed. Cl. 92, 99 (2012); Marlin v. United States, 63 Fed. Cl. 475, 476 (2005) (citing Wildman v.
United States, 28 Fed. Cl. 494, 495 (1993) (“[T]he Court does not have jurisdiction to consider
civil rights claims brought pursuant to 42 U.S.C. §§ 1981, 1983, or 1985 because jurisdiction
over claims arising under the Civil Rights Act resides exclusively in the district courts.”)).

Furthermore, the Court lacks jurisdiction to hear plaintiff's remaining claims because
they sound in tort. The Tucker Act explicitly excludes tort claims from this Court’s jurisdiction.
“Tt is well settled that the United States Court of Federal Claims lacks—and its predecessor the
United States Claims Court lacked—jurisdiction to entertain tort claims.” Shearin vy. United
States, 992 F.2d 1195, 1197 (Fed. Cir. 1993); see also Sellers v. United States, 110 Fed, C1. 62,
66 (2013). Additionally, plaintiffs requests for injunctive relief including his request for an
investigation and an apology letter are not properly before the Court because “[t]he Tucker Act
does not provide independent jurisdiction over . .. claims for equitable relief.” Taylor v. United
States, 113 Fed. Cl. 171, 173 (2013). Accordingly, the Court lacks subject-matter jurisdiction
over all of plaintiff's claims for relief, and plaintiff's Complaint must be dismissed.

As noted above, Cato filed an application to proceed in forma pauperis on October 17,
2018. Pursuant to 28 U.S.C. § 1915, federal courts are permitted to waive filing fees under
certain circumstances. See 28 U.S.C. § 1915(a}(1). The statute requires that an applicant be
“unable to pay such fees.” 28 U.S.C. § 1915(a){1). To be “‘unable to pay such fees’ means that
paying such fees would constitute a serious hardship on the plaintiff” Fiebelkorn v. United
States, 77 Fed. Cl. 59, 62 (2007); see also Moore v. United States, 93 Fed. Cl. 411, 414-15

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(2010). For good cause shown, plaintiff's Motion for Leave to Proceed in forma pauperis is
granted.

IV. Conclusion

For the reasons set forth above, plaintiff's Complaint is, sua sponte, DISMISSED
pursuant to RCFC 12(h)(3) for lack of jurisdiction, Additionally, plaintiff's Motion for Leave to
Proceed in forma pauperis is GRANTED. The Clerk is hereby directed to enter judgment

consistent with this opinion.
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Loren A. Smith, Senior Judgé

ITIS SO ORDERED.

 
